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                            Exhibit 2

          Governor Newsom’s Executive Order
                      N-64-20
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       6HF:=ME=F;XO<3PX9R9MUXRHO9MXS=BAX49X34B9XPHXRHO9X4UXE3>AX=FXO<9X
.HR9E49MX9B96P>HFXS=BBX3BBHSX%3B=:HMF=3X3F7X=ONX6HQFO=9NXPHX59;=FXJM9J3M=G;X:HMX
O<3OX9B96P=HFXFHS9R9FX3NXJB3FG=F;X6HFO=FQ9NXOHX79O9ME>F9X<HSX79O3>ANXH:XO<3OX
9B96O=HFX=F6BQ7=F;XM9LQ>M9E9FONX6HF69MG=F;XO<9X3R3=B34=B=OUXH:X=F K9MNHFXRHP>F;X
HJJHMOQF=O=9NXS=BBX49X=EJA9E9FO97#X3G7X

       =PX>NX6M=P>63AXO<3OX6HQFO=9NX<3R9X6B3M=PUXM9;3M7=F;XM9LQ>M9E9FPNX:HMX
=F J9MNHFXRHO=F;XHJKHMOQF=O=9NX3F7XHP<9MX79P3=BNXH:XP<9X.HR9E49MX9B96P=HFX4UX
FHXC3O9MXO<3FX-3UXXXS<>6<XE3UXM9LQ>M9X3XNQ4N9LQ9FOX'T96QO=R9X0M79M#X
3F7X

        QF79MXO<9XJMHR=N=HGNXH:X(HR9MGE9FPX%H79XN96P>HFX X)X:=F7X
O<3OXNOM=6OX6HEJB=3F69XS=O<XR3M=HQNXNP3OQP9NXNJ96=:=97X=FXO<>NX0M79MXSHQB7XJM9R9FOX
<=F79MXHMX79B3UX3JJMHKM=3O9X36O=HGNXPHXKM9R9FOX3F7XE=P=;3P9XO<9X9::96ONXH:XO<9X
%02)& !XJ3F79E>6X

                       (HR9MFHMXH:XO<9X1O3O9XH:X%3D=:HMF=3X=FX
366HM73F69XS=P<XP<9X3QO<HM>PUXR9NO97X=FXE9X4UXP<9X1O3O9X%HFNO=PQP=HGX3F7X
NP3OQP9NXH:XP<9X1O3O9XH:X%3B=:HMF=3X3F7X>FXJ3MO=6QB3MX(HR9MFE9FOX%H79XN96O=HFNX
 X X3F7X X7HX<9M94UX=NNQ9XO<9X:HBAHS>F;X0M79MXOHX496HE9X9::96O=R9X
=EE97=3O9DU"X
           

       /HPS=O<NO3F7=F;X3FUXA=E=O3O=HFXHFXO<9X7=NPM=4QP=HFXH:XRHP9 4U E3=A
         43BBHPNX=FX'B96O=HFNX%H79XN96P=HFNXX3F7X XHMX3FUXHP<9M
         JMHR=N>HFXH:XNO3O9XB3SX936<X6HQFOUX9A96O=HFNXH::>6=3ANXN<3AAXOM3FNE=P
         RHP9 4U E3=BX43BAHPNX:HMXP<9X.HR9E59MXXX(9F9M3AX'A96P=HFXPHX3AB
         RHP9MNXS<HX3M9X3NXH:XO<9XB3NPX73UXHFXS<>6<XRHO9 4U E3=BX43AAHPNXE3U
         49XOM3FNE>OO97XPHXRHO9MNX=FX6HFF96O=HFXS>P<XO<3PX9A96P=IFXM9;=NO9M97XOH
         RHO9X>FXO<3OX9A96O=HFX$NXN9OX:HMO<X=FXP<>NXJ3M3;M3J<X9R9MUX%3A=:HMF=3F
         S<HX>NX9B=;=4B9XPHXRHO9X>FXO<9X.HR9E49MXXX(9F9M3BX'B96P=HFXN<3AA
         M969=R9X3XRHP9 4U E3=BX43ABHP

       /HP<=F;X=FXP<=NX0M79MXN<3BBX49X6HFNPMQ97XOHXB=E=OXO<9X9TP9FPXOHXS<=6<X=FW
         J9MNHFXRHP=F;XHJJHMOQF=O>9NX3M9XE379X3R3>A35B9X=FX6HFF96P=HFXS=O<XO<9
         .HR9E59MXXX(9F9M3BX'B96O=HFX)PX>NXP<9X=FO9FPXH:XO<>NX0M89MXO<3PXEU
         $7E=F=NOM3O=HFX6HFO=FQ9XPHXSHM@XS=O<XO<9X,9;=NA3PQM9X3F7XO<9X196M9O3MU
         H:X1O3O9XOHX79O9ME=F9X<HSXM9LQ>M9E9FPNX:HMX>F J9MNHFXRHP>F;
         HJKHMOQF=O=9NX3F7XHO<9MX79O3=BNXH:XO<9X.HR9E49MX9B96P=HFXS=BBX49
         =EJB9E9FO97 ;Q=797X4UX%3B=:HMF>3NXBHF;NP3F7=F;X6HEE=OE9FOXOH
         E3@=G;X=ONX9A96O=HFNX3669NN=4B9X3NX9FN<M=F97X=FX9T=NO=G;X%3A=:HMF=3XA3S
         S<>A9XM96H;F>V=F;XO<9X9T>;9F6=9NXH:XO<9X%02*& !XJ3F79E=6

       -UX$7E=G=NOM3O=HFX6HFO=GQ9NXSHM@=F;X=FXJ3MOF9MN<=KXS=O<XP<9X196M9P3MU
         H:X1P3P9X3F7XO<9X,9;=NB3PQM9XHFXM9LQ>M9E9FONX:HMX=FJ9MNHFXRHO=F;
         HJJHMPQF=P=9NX3F7XHGX<HSXHP<9MX79P3=ANXH:XO<9X/HR9E49MX9B96O=HFXS=AA
         49X=EJB9E9FO97X/HO<=F;X=FXO<=NX0M79MX>NX=FO9F797XHMXN<3ABX49
         6HFNOMQ97XPHXB=E=OXO<9X9G36OE9FOXH:XB9;=NB3O=HFXHGXO<3OXNQ4?96O
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